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 5   Attorney for JOSE MADRIGAL-VEGA
 6
                                      UNITED STATES DISTRICT COURT
 7
                                      EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,                            Case No.: 18-cr-009 TLN

11                       Plaintiff,                       STIPULATION AND PROPOSED
12                                                        ORDER FOR MODIFICATION OF
                vs.                                       CONDITIONS OF PRETRIAL RELEASE
13
14   JOSE MADRIGAL-VEGA, et al.

15                       Defendants.
16
17              IT IS HEREBY STIPULATED by and between Assistant United States Attorney,
18   Justin Lee, Counsel for Plaintiff, and attorney Clemente M. Jiménez, Counsel for
19   Defendant Jose Madrigal-Vega, in consultation with Pretrial Services, that Defendant’s
20   current pretrial release conditions shall be modified as follows:
21              1. Condition No. 9 shall be replaced with: You must refrain from ANY use of
22                    alcohol or any use of a narcotic drug or other controlled substance without a
23                    prescription by a licensed medical practitioner; and you must notify Pretrial
24                    Services immediately of any prescribed medication(s). However, medicinal
25                    marijuana prescribed and/or recommended may not be used.
26
27              2. The following condition shall be added: You must participate in a program of
28                    medical or psychiatric treatment, including treatment for drug or alcohol




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 1                 dependency, as approved by the pretrial services officer. You must pay all or
 2                 part of the costs of the counseling services based upon your ability to pay, as
 3                 determined by the pretrial services officer.
 4
 5
     DATED:           July 24, 2019                Respectfully submitted,
 6
 7
                                                   /S/   Clemente M. Jiménez
 8                                                 CLEMENTE M. JIMÉNEZ
                                                   Attorney for Jose Madrigal-Vega
 9
10
                                                   /S/   Justin Lee
11                                                 McGregor Scott
12                                                 by JUSTIN LEE
                                                   Attorney for Plaintiff
13
14
15
16                                                ORDER
17              IT IS SO ORDERED, that the Defendant’s pretrial release conditions be modified
18   as stipulated by the parties.
19   Dated: July 25, 2019
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     07/25/19
